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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

 

EASTERN DIVISION

JAMIE HAMILTON, et ux., § ¢,.,AQ];<OC??{ZW

Piaintiffs, )
v. § NO. 97-1261 B/An
GARY MYERS, et al., §

Defendants. z
and
GARY ARNETT, et a|., )

Plaintil`fs, §
v. ¢' § NO. 98-1263 B/An ,_._
GARY MYERS, et al., §

Defendants. §

ORDER

 

The Court held a conference call for both ofthese matters on June 20, 2005. During the
conference call, counsel for all parties agreed that the Court should delay ruling on Defendant’s
Motion to Join until after the parties attend a settlement conference before the Undersigned. lt is
therefore ORDERED that the parties shall submit a confidential pre-mediation statement to the

Court by August 16, 2005. The parties shall not be required to serve a copy ofthis statement on

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Th|s document entered on the docket h ln com liaan
with Rule 58 and,-'or_?Q (a) FRCP on w /9©(\

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opposing counsel.

IT IS SO ORDERED.

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. /A 1

S. THOMAS ANDERSON

UNITED STATES MAGISTRATE JUDGE

Date: 295 PpoJ/
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UNITE`DSTATES DISTRICT OURT- WESTERNDTISRIC oF TNNESEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 207 in
case 1:98-CV-01263 Was distributed by faX, mail, or direct printing on
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Honorable .l. Breen
US DISTRICT COURT

